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                       EXHIBIT 8D
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                                 Addendum to Individual Framework
I.        Individual Periodic Vendors (“IPV”)1

          A.       Eligibility

                   An IPV is a Natural Person claiming economic loss during a period in May through
                   December 2010 who satisfies all of the following criteria:

                   1.       Regularly sold at retail during 2009 and 2010 any of the legal food, souvenir, art,
                            tourist-related or water-related goods or services listed in Attachment A or
                            substantially equivalent items (“Covered Sales”) to CONSUMERS in Zones A, B or
                            C during May through December 2009 and/or May through December 2010.

                   2.       Made such Covered Sales, primarily to non-local CONSUMERS,2 except that
                            water-related Covered Sales, need not be primarily made to non-local
                            CONSUMERS.

                   3.       Did not maintain a permanent business location in a building at which the
                            claimant made Covered Sales.

                   4.       Held any licenses required by law.

                   5.       Was not employed by an employer in connection with such Covered Sales.

                   6.       Does not have Tax Information Documents sufficient to support a claim under
                            the Business Compensation Framework for this claimed loss.

          B.       Causation

                   1.       Causation shall be presumed for claimed losses associated with lost Covered
                            Sales in Zones A and B. If the claimant alleges lost Covered Sales in Zone C, the
                            claimant must provide either:

                            a.      Documents establishing a decline of 5% or more in net earnings from
                                    the claimant’s Covered Sales in Zone C during the claimant-selected
                                    period of 3 consecutive months or more during May through December
                                    2010 (“Compensation Period”), compared to the same 3 or more
                                    consecutive month period in 2009; OR



1
      This section is not intended to compensate losses associated with vendors who do not qualify for
      compensation pursuant to Sections I – V and whose claimed losses relate to income from Festivals (as defined
      herein). Festival-related losses are addressed in a separate section of this document. Claimants may,
      however, file separate claims for compensation associated with Festival-related losses and IPV-related losses,
      as applicable.
2
      CONSUMER shall have the meaning in the Economic and Property Damages Settlement Agreement. A
      CONSUMER shall be considered a “non-local CONSUMER” if they reside more than 60 miles from the location
      at which claimant made the Covered Sale.


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                b.      A statement from an Adjacent Business as defined in Section I(C)4(e)
                        below, that the Adjacent Business experienced a decline in sales to non-
                        local CONSUMERS during May through December 2010 compared to
                        May through December 2009 due to or resulting from the DWH Spill.

   C.    Documentation Requirements

         An IPV under this Section must provide the documents indicated below:

         1.      Records Regarding Covered Sales

                a.      Documents regarding the IPV’s Covered Sales in Zones A, B or C to
                        CONSUMERS, including non-local CONSUMERS, from May through
                        December 2009 and May through December 2010. The information
                        must be sufficient for the Claims Administrator to determine that the
                        IPV was in the business of regularly making such Covered Sales prior to
                        April 20, 2010, and includes all information regarding the IPV’s revenues
                        from Covered Sales from May through December 2009 and May
                        through December 2010, as well as corresponding expenses. Such
                        documentation could include, but is not limited to, the following:

                        i.       Sales logs, sales tax receipts, cash receipts registers, credit card
                                registers, bank statements or other contemporaneous records;
                                and/or

                        ii.     Receipts from third-party vendors or other sources related to
                                the purchase of materials or equipment related to the Covered
                                Sales; and/or

                        iii.    Documents establishing any wages paid to employees or
                                amounts paid to other individuals who assisted in making the
                                Covered Sales, or any other expenses incurred in connection
                                with the Covered Sales.

                b.      Photographs and other documentation (including but not limited to
                        news articles, sales flyers or advertisements) reflecting (i) the goods or
                        services sold in Covered Sales by the IPV, (ii) the location(s) at which the
                        IPV sold the goods or services (including any documents providing
                        information regarding an Adjacent Business), (iii) the prices charged for
                        Covered Sales of goods or services, and/or other product information,
                        and (iv) any biographical or other background information on the IPV
                        selling the goods or services. The IPV shall also provide the date(s) of
                        any photographs and the locations depicted. If the exact date is not
                        available, the IPV may provide the month, or range of months, and year.

                c.      Documents establishing the IPV’s total earned income from Covered
                        Sales (net of all variable expenses) for May through December 2009 and
                        May through December 2010.


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                           d.       Any available documents showing that the IPV made Covered Sales to
                                    non-local CONSUMERS in each period, with supporting information
                                    and/or documentation sufficient to permit the Claims Administrator to
                                    reasonably conclude that the IPV made sales to non-local CONSUMERS
                                    in each period.

                                    i.       For IPVs selling in Zones A and B, sales to non-local CONSUMERS
                                             shall be presumed.

                                    ii.      For Covered Sales in Zone C, the IPV may provide IPV’s receipts
                                             reflecting purchasers’ addresses, and/or documentation
                                             establishing that the Covered Sales were made on an interstate
                                             highway or other highway in Zone C or in an area generally
                                             visited by Tourist such as a museum, zoo, or historic site.

                           e.       Documents identifying by name, address and telephone number any
                                    employee in connection with the Covered Sales of claimant during 2009
                                    or 2010.

                  2.       Licensing Documentation: If a government-issued license/permit was required
                           to make any Covered Sales, IPV shall provide a copy of valid 2009 and 2010
                           licenses,3 or evidence such existed, such as:

                           •    Business license.
                           •    Vendor’s license.
                           •    Peddlers license.
                           •    Itinerant Vendor license.
                           •    Commercial/recreational fishing license.
                           •    Occupational license.
                           •    Sales tax license.
                           •    Other licenses & permits related to income sources.
                           •    Canceled check for license or affidavit from issuing government body.




                  3.       IPV Employability Documentation4: The IPV must provide both:

3
     To the extent a state or municipality or other governmental agency agrees to provide the Claims
     Administrator with access to any official database sufficient for the Claims Administrator to confirm the
     claimant possessed a valid 2009 and 2010 license, the Claims Administrator need not require from the
     claimant a copy of the valid license. Rather, the Claims Administrator is authorized to accept from the
     claimant the license number as sufficient to satisfy this subpart, and the Claims Administrator will use the
     database to confirm claimant’s license is valid.

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                          a.       A copy of a Social Security card, government issued identification,
                                   temporary worker visa, or green card that was valid as of April 20, 2010
                                   or verification of existence of at least one such document from a public
                                   database providing the same information as would be provided from
                                   the original document;

                                   AND

                          b.       Evidence that the IPV was at least 16 years of age as of April 20, 2010.
                                   Acceptable evidence includes a copy of a valid driver’s license, a valid
                                   passport, or the IPV’s birth certificate, other government issued
                                   identification indicating date of birth, or verification of existence of at
                                   least one such document from a public database providing the same
                                   information as would be provided from the original document.

                  4.      IPV Sworn Written Statement: The IPV must submit a Sworn Written
                          Statement that sets forth all of the following:

                          a.       Verification that the IPV does not have available, and is not able to
                                   provide, Tax Information Documents sufficient to support a claim as a
                                   business under the Business Compensation Framework for the claimant
                                   Covered Sales.

                          b.       A description of the Covered Sales made by the IPV, including a
                                   description of the relevant goods or services sold by the IPV.

                          c.       A statement that (i) the IPV possessed and has attached copies of all
                                   required licenses as set forth in section IC.2., or (ii) the reason no such
                                   license(s) were required.

                          d.       A statement that all available documentation regarding revenue and
                                   expenses related to Covered Sales during the periods (i) May through
                                   December 2009 and (ii) May through December 2010 that the IPV
                                   possesses or has access to has been provided in support of the claim.

                          e.       The name, address, telephone number and a brief description of at least
                                   one business satisfying the Tourism definition and located on a parcel of
                                   property with a boundary within 100 yards of any location at which the
                                   IPV made or arranged for Covered Sales (“Adjacent Business”), and a
                                   Sworn Written Statement from an owner or employee of such business


4
     To the extent the state or federal government agrees to provide the Claims Administrator with access to any
     official database sufficient for the Claims Administrator to confirm that a claimant possessed valid
     documentation of the type required in subparts 3(a) and 3(b). The Claims Administrator may not require
     from the claimant a copy of the requested document. Rather, the Claims Administrator is authorized to
     accept from the claimant the relevant government issued number as sufficient to satisfy this subpart 3, and
     the Claims Administrator shall utilize the database to confirm the claimant’s government issued numbered is
     valid.

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                      in support of the claim. If no such Adjacent Business exists, the IPV
                      shall so state.

               f.     To the extent the IPV is not able to provide documents demonstrating
                      the revenue associated with Covered Sales, the IPV should estimate the
                      Covered Sales revenues in each of Zone A, B or C for both May through
                      December 2009 and May through December 2010, and explain the basis
                      for the estimates provided (e.g., “Sold __ bags of peanuts at ___ per
                      unit”). To the extent documentation exists in support of the earned
                      income estimate (or components thereof), copies of such
                      documentation must be provided.

               g.     To the extent the IPV is not able to provide documents demonstrating
                      the expenses associated with the Covered Sales, the IPV should provide
                      (i) a description of any materials purchased by the IPV in connection
                      with making the Covered Sales, including the name and address of the
                      provider of the materials, and the estimated costs of such materials in
                      total and/or for each good or service sold in Covered Sales, (ii) an
                      estimate of any wages paid to employees or amounts paid to other
                      individuals who assisted in making the Covered Sales and an
                      identification of the period to which such payments relate, and (iii) a
                      description and estimate of any other expenses incurred in connection
                      with the Covered Sales.

               h.     A description of any cash or in-kind payments made by the IPV in 2009,
                      2010 and/or 2011 to an Adjacent Business in consideration of such
                      Adjacent Business permitting or facilitating IPV’s Covered Sales.

               i.     An explanation sufficient to permit the Claims Administrator to
                      determine that any reduction of IPV’s net earnings from Covered Sales
                      from May through December 2010 compared to prior periods was due
                      to or resulting from the DWH Spill.

         5.    Adjacent Business Sworn Written Statement:

               The IPV must procure and submit a Sworn Written Statement from an owner or
               employee of an Adjacent Business(es) (“Adjacent Business Affiant”), setting
               forth the following:

               a.     The name, address, telephone number of the Adjacent Business Affiant
                      and relationship to the Adjacent Business; and

               b.     The business name, address(es), telephone number(s), and website(s) of
                      the Adjacent Business, and a description of the nature of the business;
                      and

               c.     A description of any cash or other payments made by the IPV in 2009,
                      2010 and/or 2011 to the Adjacent Business in consideration of such
                      Adjacent Business permitting or facilitating the IPV’s sales; and

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                 d.      A statement setting forth the dates and other information regarding the
                         IPV’s Covered Sales witnessed by the Adjacent Business Affiant – e.g.,
                         “I observed IPV selling _____ [TYPE OF GOODS OR SERVICES] at
                         [LOCATION] during approximately [DAYS OR WEEKS] during [PRE-SPILL
                         PERIOD] and I observed the IPV selling _____ [TYPE OF GOODS OR
                         SERVICES at [LOCATION] during approximately [DAYS OR WEEKS] during
                         [the Compensation Period].” If the IPV made Covered Sales in multiple
                         locations during the pre-DWH Spill period, and wishes to rely upon all of
                         those sales, the IPV should submit an Adjacent Business Sworn Written
                         Statement with respect to each such location; and

                 e.      For an IPV alleging losses in Zone C who does not submit
                         documentation establishing a decline of 5% or more in net earnings
                         from Covered Sales in Zone C during the Compensation Period,
                         compared to the same 3 or more consecutive month period in 2009,
                         then the Adjacent Business Affiant must set forth the following
                         additional information:

                         i.      A statement from the Adjacent Business Affiant that the
                                 Adjacent Business experienced a decline in sales to non-local
                                 CONSUMERS during the same three or more consecutive
                                 months in May through December 2010 compared to the same
                                 three or more consecutive months in May through December
                                 2009;

                         ii.     A description of the amount and time period of such decline,
                                 the Adjacent Business Affiant’s basis for such statements; and

                         iii.    An explanation of how the decline was due to or resulting from
                                 the DWH Spill.

   D.    Compensation Calculation

         Consistent with the Causation provisions of Section B.1., the Claims Administrator shall
         evaluate the sufficiency and reliability of information provided by IPV and the
         supporting Adjacent Business Affiant(s), including the sworn claim form, Sworn Written
         statements, interviews (if any) and/or any supplemental information the Claims
         Administrator may require, to determine whether (i) the IPV engaged in Covered Sales
         to non-local CONSUMERS and such non-local Covered Sales declined in the
         Compensation Period and/or (ii) the IPV experienced any other decline in Covered Sales
         due to or resulting from the DWH Spill. Compensation may be awarded where the
         Claims Administrator determines that causation has been established based upon the
         above-described information as well as sufficient documentation for the Claims
         Administrator to determine that the Covered Sales identified by the claimant occurred
         during the periods indicated (“Sufficient Documentation”). Examples of such Sufficient
         Documentation include:

         1.      A summary spreadsheet with accompanying supporting schedules reflecting the
                 total revenues and total expenses associated with Covered Sales; or

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                    2.       Documents from persons or entities unrelated to the claimant that reflect the
                             total revenues and total expenses associated with Covered Sales.

                    The IPV Earnings from Covered Sales shall be calculated as the difference between a)
                    the IPV’s total revenues less corresponding total expenses related to Covered Sales for
                    any claimant selected Compensation Period of three or more consecutive months
                    between May 1 and December 31, 2010, and b) the same months in 2009.

                    The IPV’s Lost Earnings shall be calculated as the IPV Earnings from Covered Sales for
                    the Base Period minus the IPV Earnings from Covered Sales for the Compensation
                    Period.

                    The IPV’s Compensation Amount shall be equal to the lesser of the IPV’s Lost Earnings
                    or $12,000. An RTP of 1 shall be applicable.

                   If the Claims Administrator has reason to question the reliability of the information
           provided or if the Claims Administrator feels that the information supplied is insufficient for a
           determination of the IPV’s loss to be made under this Section I, then the Claims Administrator
           may request an interview of the IPV and/or the Adjacent Business Affiant(s) consistent with the
           Interview Procedures set forth in the Addendum Regarding Interviews of Claimants Alleging
           Individual Economic Loss.5

                   The Claims Administrator shall determine the Final Compensation Amount based on the
           information provided by the IPV and the supporting Adjacent Business Affiant(s), including the
           sworn claim form, affidavits, interviews, any supplemental information the Claims Administrator
           may require the IPV to provide to support the claim, and/or any other information the Claims
           Administrator may determine to be relevant and reliable. The Claims Administrator may rely on
           his credibility and reliability determinations in determining the Final Compensation amount, if
           any, to be provided to the IPV.

II.        FESTIVAL VENDORS6

           A.       Eligibility

                    A “Canceled Festival” is a Festival that occurred at any time from May through
                    December 2009 and was originally scheduled to occur at any time between May
                    through December 2010, but was canceled after April 20, 2010 as a result of the DWH
                    Spill.


5
       Nothing in this Individual Economic Loss Framework shall in any way limit the right and obligation of the
       Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf of any claimant,
       including but not limited to conducting any interviews and obtaining any documents the Claims Administrator
       deems necessary.
6
       For purposes of this document, IPVs and Festival Vendors are considered to be separate claimants, but
       nothing precludes a claimant from making a claim both as a IPV and as a Festival Vendor.
6
       The Parties shall seek a Court Order authorizing them to obtain from relevant state and local authorities
       information regarding examples of Festivals that may be presented at the Fairness Hearing.

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         A “Festival” includes organized street festivals, tournaments or major sporting events,
         outdoor art exhibitions, carnivals or other similar events of the type set forth in
         Attachment B held in Zone A, B or C at any time during May through December 2009
         and/or May through December 2010.

         “Festival Sales” are legal sales of items defined as Covered Sales made at retail at
         Festivals.

         A “Replacement Festival” includes any organized street festival, tournament or major
         sporting event, outdoor art exhibition, carnival or other similar event of the type set
         forth in Attachment B, regardless of where that event was held, in which the claimant
         participated between May and December 2010 in lieu of a Canceled Festival.

         “Replacement Festival Sales” are legal sales of items defined as Covered Sales made at
         retail at Replacement Festivals.

         A claimant must be an eligible Festival Vendor to qualify for compensation pursuant to
         this Section II. A “Festival Vendor” (also referred to herein as “claimant”) is a Natural
         Person claiming economic loss for a period in May through December 2010 who
         satisfied all of the following criteria below:

         1.      Regularly made Festival Sales prior to April 20, 2010; and

         2.      Held any and all licenses and/or permits required by law; and

         3.      Was not employed by an employer in connection with such sales; and

         4.      Does not have Tax Information Documents sufficient to support a claim under
                 the Business Compensation Framework; and

         5.      Claims a loss of revenue and earnings related to a Festival in which the Festival
                 Vendor participated or would have participated absent the DWH Spill.

   B.    Causation

         1.      Causation shall be presumed for claimed losses associated with Festival Sales in
                 Zones A and B.

         2.      If the claimant alleges lost eligible Festival Sales in Zone C, the claimant must
                 provide all of the following:

                 a.      A Festival Vendor Sworn Written Statement that includes the
                         information required in Section I(C)5(g); and

                 b.      Certain relevant documentation specified herein; and

                 c.      A Festival Coordinator Sworn Written Statement by a Festival
                         Coordinator of each Festival at which the Festival Vendor planned to,
                         or did, make Festival Sales. The terms Festival Coordinator Sworn


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                         Written Statement and Festival Coordinator are defined in Sections
                         II(C)5 below.

    C.    Documentation Requirements

          A Festival Vendor under this Section must provide the documents indicated below:

          1.     Records Regarding Festival Sales

                 a.      Documents regarding the Festival Vendor’s Festival Sales, from both
                         May through December 2009 and May through December 2010, and for
                         any Replacement Festival Sales from May through December 2010.
                         The information must be sufficient for the Claims Administrator to
                         determine that the Festival Vendor was in the business of regularly
                         making Festival Sales prior to April 20, 2010, and includes all
                         information regarding the Festival Vendor’s revenues and expenses
                         from Festival Sales from May through December 2009 and May through
                         December 2010, and for Replacement Festival Sales from May through
                         December 2010. Such documentation could include, but is not limited
                         to, the following:

                         i.       Sales logs, sales tax receipts, cash receipts registers, credit card
                                 registers, bank statements or other contemporaneous records;
                                 and/or

                         ii.     Receipts from vendors or other sources related to product
                                 costs, material purchases, and/or equipment purchases related
                                 to the Festival Sales and Replacement Festival Sales; and/or

                         iii.    Documents establishing any wages paid to employees or
                                 amounts paid to other individuals who assisted in making the
                                 Festival Sales or Replacement Festival Sales, or any other
                                 expenses incurred in connection with the Festival Sales or
                                 Replacement Festival Sales.

                 b.      Documents evidencing participation in any and all Festivals during the
                         period May through December 2009 and May through December 2010,
                         and all Replacement Festivals from May through December 2010,
                         including but not limited to (i) records of payment made by Festival
                         Vendor to participate in each Festival or Replacement Festival, if
                         applicable, and (ii) entry or registration forms, or other documents
                         showing all booth or stall assignments, if applicable.

                 c.      If applicable, documents evidencing Festival Vendor’s intended
                         participation in a Canceled Festival, including but not limited to (i)
                         records of payment made by Festival Vendor to participate in each
                         Festival and returned due to the Canceled Festival being canceled, and
                         (ii) entry or registration forms, or other documents showing all booth or
                         stall assignments, and (iii) any documents notifying the Festival Vendor
                         that the Canceled Festival was canceled. The Festival Vendor shall also
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                                    identify any Replacement Festival in which the Festival Vendor
                                    participated and the corresponding Canceled Festival. If the Festival
                                    Vendor did not participate in any Replacement Festivals, the Festival
                                    Vendor should so state.

                           d.       Documents identifying by name, address and telephone number any
                                    employee in connection with the Festival Sales or Replacement Festival
                                    Sales of claimant during 2009 or 2010.

                  2.       Licensing Documentation7: If a government-issued license/permit was required
                           to make any Festival Sales or Replacement Festival Sales, Festival Vendor shall
                           provide a copy of valid 2009 and 2010 licenses, such as:

                           •    Business license.
                           •    Vendor’s license.
                           •    Commercial/recreational fishing license.
                           •    Occupational license.
                           •    Peddler’s license.
                           •    Itinerant Vendor license.
                           •    Sales tax license.
                           •    Other licenses & permits related to income sources.


                  3.       Festival Vendor’s Employability Documentation8: The Festival Vendor must
                           provide both:

                           a.       A copy of a Social Security card, government issued identification or
                                    card, temporary worker visa, or green card that was valid as of April 20,
                                    2010 or a verification of existence of at least one such document from a
                                    public database providing the same information as would be provided
                                    from the original document;

7
     To the extent a state or municipality or other governmental agency agrees to provide the Claims
     Administrator with access to any official database sufficient for the Claims Administrator to confirm the
     claimant possessed a valid 2009 and 2010 license, the Claims Administrator need not require from the
     claimant a copy of the valid license. Rather, the Claims Administrator is authorized to accept from the
     claimant the license number as sufficient to satisfy this subpart, and the Claims Administrator will use the
     database to confirm claimant’s license is valid.
8
     To the extent the state or federal government agrees to provide the Claims Administrator with access to any
     official database sufficient for the Claims Administrator to confirm that a claimant possessed valid
     documentation of the type required in subparts 3(a) and 3(b). The Claims Administrator may not require
     from the claimant a copy of the requested document. Rather, the Claims Administrator is authorized to
     accept from the claimant the relevant government issued number as sufficient to satisfy this subpart 3, and
     the Claims Administrator shall utilize the database to confirm the claimant’s government issued numbered is
     valid.

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                      AND

               b.     Evidence that the Festival Vendor was at least 16 years of age as of
                      April 20, 2010. Acceptable evidence includes a copy of a valid driver’s
                      license, a valid passport, or a copy of the Festival Vendor’s birth
                      certificate or verification of existence of at least one such document
                      from a public database providing the same information as would be
                      provided from the original document.

          4.   Festival Vendor Sworn Written Statement: The Festival Vendor must submit a
               Festival Vendor Sworn Written Statement setting forth all of the items below:

               a.     Verification that the Festival Vendor does not have available, and is not
                      able to provide, Tax Information Documents sufficient to support a
                      claim as a business under the Business Compensation Framework.

               b.     A description of the Festival Sales and Replacement Festival Sales,
                      made by the Festival Vendor, including a description of the relevant
                      goods or services sold by the Festival Vendor.

               c.     A statement that (i) the Festival Vendor possessed and has attached
                      copies of all required licenses and/or permits as set forth in Section
                      II(C)2, or (ii) that no such license(s) were required.

               d.     A statement that all available receipts or records of Festival Sales
                      and/or Replacement Festival Sales from (i) May through December
                      2009 and (ii) May through December 2010 that Festival Vendor
                      possesses or has access to have been provided in support of the claim.

               e.     A list of each Festival and Replacement Festival in which the Festival
                      Vendor participated as a vendor in 2009 and 2010, and each Canceled
                      Festival. The Festival Vendor must also provide the following in writing,
                      as well as the supporting documentation identified above:

                      i.      the name, date(s) and location(s) of each Festival, or
                              Replacement Festival, and, for Canceled Festivals, the name
                              and originally planned date(s) and location(s);

                      ii.     the name, address, business telephone number, and a brief
                              description of any sponsor or organizer of each Festival,
                              Canceled Festival and Replacement Festival;

                      iii.    a description of all fees paid in connection with participation or
                              exhibition in each Festival, Canceled Festival or Replacement
                              Festival; and

                      iv.     for each Festival or Replacement Festival, a statement that
                              provides all booth or stall assignments, records of payment
                              made by Festival Vendor to participate in each Festival or
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                                             Replacement Festival, and sales tax receipts obtained by the
                                             Festival Vendor in connection with their participation.

                           f.       To the extent the Festival Vendor is unable to provide documents
                                    demonstrating the revenue associated with Festival Sales and/or
                                    Replacement Festival Sales, the Festival Vendor should estimate the
                                    revenue from Festival Sales for both May through December 2009 and
                                    May through December 2010 and for Replacement Festival Sales from
                                    May through December 2010, and explain the basis for the estimates
                                    provided (e.g., “Sold __ bags of peanuts at ___ per unit”). To the extent
                                    documentation exists in support of the earned income estimate (or
                                    components thereof), provide copies of such documentation.

                           g.       To the extent the Festival Vendor is not able to provide documents
                                    demonstrating all expenses associated with the Festival Sales or
                                    Replacement Festival Sales, the Festival Vendor should provide a
                                    description of any materials purchased by Festival Vendor in connection
                                    with making the Festival Sales or Replacement Festival Sales, including
                                    the name and address of the provider of the materials, the actual or
                                    estimated costs of such materials in total and/or for each good or
                                    service item sold.

                           h.       An explanation sufficient to permit the Claims Administrator to
                                    determine that any reduction of Festival Vendor Earnings from Festival
                                    Sales or Replacement Festival Sales in May through December 2010
                                    compared to Festival Vendor Earnings from the same Festivals (and any
                                    Festivals canceled in 2010 due to the DWH Spill) was due to or resulting
                                    from the DWH Spill, where “Festival Vendor Earnings” shall be
                                    calculated as the Festival Vendor’s total revenues less total expenses
                                    associated with Festival Sales.

                  5.       Festival Coordinator Sworn Written Statement(s): A Sworn Written Statement
                           from an individual representing the entity or committee responsible for
                           organizing the Festival (“Festival Coordinator”) for each Festival, Canceled
                           Festival or Replacement Festival for which loss is claimed setting forth all of the
                           following:9

                           a.       The name, address, telephone number of the Festival Coordinator
                                    affiant.

                           b.       The name, date and location of each Festival or Replacement Festival
                                    for which the affiant served as a Festival Coordinator and in which the
                                    Festival Vendor applied to participate, and the name, address and

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     If the Festival Coordinator is willing to provide at one time information identified in subparts 5(c), 5(d) and
     5(e) for all Festival Vendors at one time, then a single Festival Coordinator Sworn Written Statement shall be
     sufficient for all claims by Festival Vendors. Alternatively, the Festival Coordinator may prefer to provide
     separate Festival Coordinator Sworn Written Statements for each Festival Vendor containing the information
     required in subparts 5(c), 5(d) and 5(e), and this shall likewise be acceptable.

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                       business telephone number of any sponsor or organizer of each such
                       Festival, Canceled Festival or Replacement Festival.

               c.      Identification of each Festival or Replacement Festival in which the
                       Festival Vendor (i) submitted an application, and (ii) paid a deposit or
                       fee, and (iii) either (a) participated, or (b) did not participate because it
                       was a Canceled Festival. If the Festival Coordinator is providing
                       information regarding a Canceled Festival that was canceled after April
                       20, 2010, and therefore (i) no application was submitted by the Festival
                       Vendor, and/or (ii) no deposit or fee was paid by the Festival Vendor
                       for the Canceled Festival, the Festival Coordinator need only provide
                       the requested information regarding the Festival Vendor’s participation
                       in the same Festival in prior periods, as well as any information
                       available to the Festival Coordinator regarding the Festival Vendor’s
                       expected participation in the Canceled Festival.

               d.      Copies of any application, or record of deposit or fee or notice of
                       cancellation identified in (c) above.

               e.      Any applicable permit required to hold any Festival or Replacement
                       Festival, and, if available, any Canceled Festival, in which the Festival
                       Vendor applied to participate.

               f.      Attendance data (or an estimate) for each Festival in which the Festival
                       Vendor participated and, if the same Festival was held in a prior year,
                       attendance data (or an estimate) for the nearest prior year or period
                       prior to the DWH Spill.

               g.      Only if the Festival is located in Zone C, the Festival Coordinator must
                       also set forth that the Festival was a Canceled Festival or experienced a
                       decline in attendance, compared to either the prior year or projected
                       attendance, due to or resulting from the DWH Spill. The Festival
                       Coordinator must include (i) a statement describing the reasons for the
                       cancellation or the amount of decline, and the affiant’s basis for such
                       statements, and (ii) a statement that the Festival Coordinator affiant
                       believes that the cancellation of a Canceled Festival, or the decline in
                       attendance at a Festival during the period May 1 through December 31,
                       2010 was due to or resulting from the DWH Spill.

          6.   Sponsor Sworn Written Statement: If no Festival Coordinator affiant is
               available, submit a Sworn Written Statement from another person other than a
               relative who has personal knowledge of the Festival Vendor’s participation in a
               Festival or non-participation in a Canceled Festival (including but not limited to
               a customer, fellow Festival Vendor, or operator of a business located within 100
               feet of the Festival Vendor’s sales location at the Festival), providing details
               regarding the Festival or Canceled Festival and the Festival Vendor’s
               relationship to such Sponsor that shall set forth all of the following:

               a.      Name, address, phone and e-mail of the Sponsor.

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                 b.      Basis for the personal knowledge.

                 c.      Description of the Festival or Canceled Festival.

                 d.      Information regarding the Festival Vendor’s participation in the Festival
                         (including date(s), location(s) and the description of the Festival Sales, if
                         applicable).

                 e.      Information regarding Canceled Festival in which the Festival Vendor
                         was scheduled and registered to participate (including date(s),
                         location(s) and the description of the Festival Sales, if applicable) but
                         did not participate because it was a Canceled Festival, and how the
                         cancellation was due to or resulting from the DWH Spill.

          7.     The Claims Administrator shall evaluate the sufficiency and reliability of
                 information provided by Festival Vendor and the supporting Festival
                 Coordinator affiant(s), including the sworn claim form, the Festival Vendor
                 Sworn Written Statement, the Festival Coordinator Sworn Written
                 Statement(s), the Sponsor Sworn Written Statement(s) and/or any
                 supplemental information the Claims Administrator may require, to determine
                 whether (i) Festival Vendor engaged in Festival Sales and (ii) such sales declined
                 in the period May through December 2010.

    D.    Compensation Calculation

          Where the Claims Administrator determines that causation has been established based
          upon (i) the Zone, or (ii) the Festival Vendor Sworn Written Statement and either (a)
          Festival Coordinator Sworn Written Statement(s) or (b) Sponsor Sworn Written
          Statement(s), as well as other documentation, a Festival Vendor relying on this Section
          II may receive compensation as follows:

          1.     Festival Vendors with Documentation Establishing Loss of Earnings from
                 Festivals

                 a.      Step 1: Specify Festivals or Canceled Festivals for which claimant
                         incurred economic loss related to the DWH Spill.

                         The Festival Vendor will be eligible for compensation for losses
                         associated with each Eligible Festival. An “Eligible Festival” shall be
                         defined as a Festival or Canceled Festival that satisfies all of the
                         following criteria:

                         i.      The Festival Vendor must demonstrate losses associated with
                                 the Festival.

                         ii.     The Festival must have taken place (or for a Canceled Festival,
                                 must have been originally scheduled to take place) between
                                 May 1, 2010 and December 31, 2010.



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                            iii.    Claimant must have participated in the Festival in 2010, or, for
                                    Canceled Festivals, the claimant must provide documents
                                    establishing the cancellation, and that the claimant participated
                                    in same Festival in 2009.

                            iv.     Documentation (including Festival Coordinator Sworn Written
                                    Statement(s)) must be sufficient to establish loss.

                    b.      Step 2: Determine Festival Vendor Earnings in May through December
                            2009 from Eligible Festivals identified in Step 1.

                    c.      Step 3: Determine Festival Vendor Earnings from Eligible Festival(s) or
                            Replacement Festival(s) in May through December 2010.

                    d.      Step 4: Calculate Festival Vendor Lost Earnings

                            Festival Vendor Lost Earnings will be calculated as the difference
                            between Festival Vendor Earnings from Eligible Festival(s) from May
                            through December 2009 (determined in Step 2) less Festival Vendor
                            Earnings from Eligible Festival(s) or Replacement Festival(s) from May
                            through December 2010 (determined in Step 3).

                            Total Festival Vendor Lost Earnings may not exceed $12,000. An RTP of
                            an amount agreed upon by the arties not to exceed 1 shall be
                            applicable.

            2.      Festival Vendor Without Sufficient Documentation Of Earnings From Festival
                    Sales Who Relies On Festival Coordinator Sworn Statements.

                    For a Festival Vendor without documentation sufficient to demonstrate and
                    calculate Festival Vendor Earnings from Eligible Festival(s), and who relies on a
                    Sworn Written Statement(s) by a Festival Coordinator, such Festival Vendor
                    will be compensated up to $10,000, based upon the Claims Administrator’s
                    assessment of the credibility and reliability of the information provided by the
                    Festival Vendor in support of the claim (including financial performance,
                    completeness and accuracy of documentation, interview results, and any other
                    relevant information). No RTP shall be applicable.

            If the Claims Administrator has reason to question the reliability of the information
    provided or if the Claims Administrator feels that the information supplied in insufficient for a
    determination of the Festival Vendor’s loss under this Section II. Then the Claims Administrator
    may request an interview of the Festival Vendor and/or the Festival Coordinator, consistent
    with the Interview Procedures set forth in the Addendum Regarding Interviews of Claimants
    Alleging Economic Loss.

            The Claims Administrator shall determine the Final Compensation Amount based on the
    information provided by the Festival Vendor and the supporting Festival Coordinator affiant(s),
    including the sworn claim form, the Festival Vendor Sworn Written Statement, the Festival
    Coordinator Sworn Written Statement(s), the Sponsor Sworn Written Statement(s), interviews
    and/or any supplemental information the Claims Administrator may require the Festival
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    Vendor to provide to support the claim. The Claims Administrator may rely on his credibility
    and reliability determinations in determining the Final Compensation Amount, if any, to be
    provided to the Festival Vendor.




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                                                                                              Attachment A
                                             COVERED SALES

       1.      Peanuts (boiled or roasted) or popcorn

       2.      Hot dogs

       3.      Ice Cream

       4.      Snow Cones

       5.      Tattoos

       6.      Snakes

       7.      Beads

       8.      Fresh fish or shellfish

       9.      Jams, jellies and preserves, and other canned fruit and vegetables

       10.     Fruit

       11.     Small wood carvings such as wood clocks, statues or wall hangings

       12.     Shell jewelry

       13.     Street artists, caricaturists, or facepainters

       14.     Street performers, mimes and magicians

       15.     Sellers of clothing specifically promoting the city, beaches or other tourism activities
               (sports teams, fishing, etc.)

       16.     Hair-weaving and braiding (not including cutting and hairdressing)

       17.     Shallow Water Divers in portions of the Gulf contained in the Class Definition

       18.     Boat Repair Divers in portions of the Gulf contained in the Class Definition

       19.     Swamp Boat and Air Boat Operators in portions of the Gulf contained in the Class
               Definition

       20.     Parasail, scuba and snorkel teachers/operators in portions of the Gulf contained in the
               Class Definition

Expressly excluded from this Framework are Deepwater Divers and any individuals working on an Oil Rig.




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                                                                                       Attachment B
                                  INCLUDED IN FESTIVALS

    1.    Street festivals or fairs (excluding neighborhood block parties or garage sales or flea
          markets)

    2.    Outdoor art exhibitions (same exclusions)

    3.    Fishing tournaments

    4.    Golf tournaments

    5.    Boating tournaments

    6.    Rodeos

    7.    4-H competitions

    8.    Major college or professional sports events (not including regular season games, local
          club or K-12 school events)

    9.    Carnivals




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